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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ANTHONY RAPP and C.D.,                                     Case No. 1:20-cv-09586 (LAK) (SDA)

                                    Plaintiffs,
                                                                                              H   f
   -against-                                                                            r..LC:C,. S..GN,CALLY FILED


KEVIN SPACEY FOWLER a/k/a KEVIN SPACEY,

                                   Defendant.


      STIPULATION AND [PROPOSF:f>j-ORDER RE RESETTING OF PRETRIAL

                            DEADLINES AND OTHER MATTERS

       Plaintiff Anthony Rapp ("Plaintiff') and defendant Kevin Spacey Fowler a/k/a Kevin

Spacey ("Defendant"), by and through their undersigned counsel of record, and subject to the

approval of the Court, stipulate as follows :

       WHEREAS the parties submitted a stipulation and proposed order regarding the resetting

of pretrial dates on July 26, 2021 (ECF No. 73) ;

       WHEREAS the Court has not ruled on that prior stipulation, and this stipulation is intended

to replace and supersede that stipulation;

       WHEREAS the Court held a hearing on September 9, 2021 on Defendant Fowler' s Motion

In Limine to Preclude Plaintiff From Eliciting Testimony About Hearsay Statements He Made To

Third Parties About the Alleged Incident (ECF No. 78) ("Motion In Limine") ;

       WHEREAS at the hearing on the Motion In Limine, the Court and parties recognized the

likelihood that the pretrial deadlines would need to be continued regardless of how the Court ruled

on that motion;
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        WHEREAS the parties met and conferred after the September 9, 2021 hearing as directed

by the Court;

        WHEREAS Plaintiff proposes to eliminate three (3) of the thirteen (13) potential non-

expert, third-party witnesses identified in his initial and supplemental FRCP 26(a)(l) disclosures

(i.e., Melissa Anelli, Maneesh Jain, and Camryn Manheim) to obviate the need for their

depositions;

        WHEREAS Plaintiffs proposal leaves ten (10) potential third-party witnesses, whom

Plaintiff may wish to call to testify about statements Plaintiff made to them about the alleged

incident since it allegedly occurr(;'!d;

        WHEREAS Plaintiffs proposal means that all five of the potential third party witnesses in

Plaintiffs initial FRCP 26(a)(l) disclosures from January 2021 will have been deposed (Erin Quill,

Adam Rapp, Sean Snow) or withdrawn (Melissa Anelli, Muneesh Jain), and leaves seven potential

witnesses disclosed in Plaintiffs July 15, 2021 FRCP 26(a)(l) supplemental disclosure who have

yet to be deposed, although some of these individuals may submit or have submitted to informal

interviews in lieu of formal depositions;

        WHEREAS Plaintiff has represented he does not presently intend to call any other

individuals identified in the August 9, 2021, interrogatory responses and Defendant asserts

Plaintiffs proposal does not eliminate the need to investigate, interview, and/or potentially depose

additional witnesses identified by Plaintiff in his interrogatory responses to the extent Plaintiff may

be permitted to call any witness to testify at trial about Plaintiffs prior, allegedly consistent

statements about the alleged incident, because the individuals whom Plaintiff does not intend to

call to testify may have information helpful to Defendant rather than Plaintiff;

        WHEREAS Defendant nonetheless continues to believe the Motion In Limine should be



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granted for the reasons stated in ECF Nos. 78, 96, 98, and 102;

       WHEREAS Plaintiff continues to oppose the Motion in Limine for the reasons stated in

ECF Nos. 94 and 100; and

       WHEREAS the parties disagree about whether the extension of pretrial deadlines raised at

the September 9, 2021 hearing and described below should apply to the service of written

discovery between the parties

       NOW THEREFORE, Plaintiff and Defendant stipulate and agree as follows:

       1.      Plaintiff eliminates Melissa Anelli, Muneesh Jain, and Camryn Manheim from his

previous FRCP 26(a)(l) disclosures and will not call these individuals to testify at trial for any

purpose, but reserves the right to call or depose those witnesses to the extent Defendant discloses

them as witnesses or to the extent Defendant's experts rely on them in forming their opinions;

       2.      This stipulation does not moot or otherwise affect Defendant's Motion In Limine,

and Defendant continues to assert all hearsay testimony at issue in that motion should be ruled

inadmissible now while Plaintiff continues to oppose the motion to assert the testimony is not

hearsay, but prior consistent statements;

       3.      Defendant may conduct twenty-five (25) total depositions (up from the twenty

permitted by ECF No. 76); and

       4.      The pretrial deadlines are continued as follows:

               a.      The deadline to complete discovery shall be January 18, 2022 (extended

                      from October 1, 2021). As explained below, the parties disagree whether

                      this continued deadline should apply to all discovery or all discovery except

                      written discovery between the parties;

               b.      The deadline to file and serve summary judgment motions shall be February



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                        18, 2022 (extended from November 1, 2021).

                 c.    The deadline to file the pretrial order, proposed jury instructions, and

                       requested voir dire questions (case ready for trial) shall be February 18,

                        2022 (extended from November 1, 2021).

         5.      The parties agree to separately inform the Court of their positions as to the

disagreement referenced in Paragraph 4.a. above. In short, Plaintiff believes the deadline to

complete party written discovery should be extended to January 18, 2022, to the extent defendant

testifies about documents or other information during his deposition that are relevant to plaintiffs

claims or the issue of jurisdiction and were not previously produced. Defendant believes the

deadline to complete party written discovery should not be encompassed by the extension given

the deadline to serve such discovery already passed; instead, Defendant believes any further party

discovery should only be permitted by further agreement between the parties or an order from the

Court.

IT IS SO STIPULATED.


Dated: September 28, 2021                                    Respectfully submitted,
       New York, New York
                                                              Isl Peter J. Saghir
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                                                             Counsel for PlaintiffAnthony Rapp




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Dated: September 28, 2021                   Respectfully submitted,
       Irvine, California
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                                            Counsel for Defendant Kevin Spacey
                                            Fowler a/kla Kevin Spacey




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                                      WitOt'OSEQ.j-ORDER

       Based on the foregoing Stipulation and other good cause appearing , IT IS HEREBY

ORDERED, as follows:

        1.      Plaintiff will not call Melissa Anelli, Muneesh Jain, and Camryn Manheim to

testify at trial for any purpose, but reserves the right to call those witnesses to the extent

Defendant discloses them as witnesses or to the extent Defendant' s experts rely on them in

forming their opinions;

        2.      This stipulation does not moot or otherwise affect Defendant's Motion In Limine,

and the Court will rule on that motion separately;

        3.      Defendant may conduct twenty-five (25) total depositions (up from the twenty

permitted by ECF No. 76); and

        4.      The pretrial deadlines are continued as follows :

                a.      The deadline to complete discovery shall be January 18, 2022 (extended

from October 1, 2021).

                b.      The deadline to file and serve summary judgment motions shall be

February 18, 2022 (extended from November 1, 2021).

                c.      The deadline to file the pretrial order, proposed jury instructions, and

requested voir dire questions (case ready for trial) shall be February 18, 2022 (extended from

November 1, 2021) .

        5.      The extension set forth in Paragraph 4.a. abo

discovery between the parties.

IT IS SO ORDERED.
Dated: ~i:eflffler _, 2021
                                                The Honorable Lewis A. Kaplan
         Oc--.f: f':/                           United States District Judge

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                               C CERTIFICATE OF SERVICE

       In accordance with Local Rule 5.2, I, Chase A. Scolnick, hereby certify that on September

28, 2021 this document filed through the ECF system will be sent electronically to the registered

participants as identified in the Notice of Electronic Filing (NEF) and paper copies will be sent to

those indicated as non-registered participants.

                                                      Isl Chase A. Seo/nick
                                                      Chase A. Scolnick




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